Case 5:19-cv-00548-CEM-PRL Document 70 Filed 12/30/19 Page 1 of 3 PageID 584



                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION

CHERYL WEIMAR,

      Plaintiffs,

v.                                           CASE NO.: 5:19-cv-548-CEM-PRL

THE FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER,
and RYAN DIONNE,

     Defendants.
________________________________/

                          NOTICE OF MEDIATION

      PLEASE TAKE NOTICE that mediation for the above styled cause has been

scheduled before Dominic Caparello, Esquire, to commence at the time and place

described below:

      DATE:              February 25, 2020

      TIME:              10:00 a.m.

      PLACE:             Messer Caparello P.A.
                         2618 Centennial Place
                         Tallahassee, FL 32308-0572
                         850-222-0720

      This is a separate mediation that the parties agreed to prior to the Court’s

Case Management and Scheduling Order [EFC No.: 69]. Should it become

necessary, the parties will address mediation with the Court by subsequent motion.
Case 5:19-cv-00548-CEM-PRL Document 70 Filed 12/30/19 Page 2 of 3 PageID 585




                                   Respectfully submitted,

                                   ANDREWS LAW FIRM
                                   822 North Monroe Street
                                   Tallahassee, Florida 32303
                                   T: (850) 681-6416 / F: 681-6984

                                   /s/ Steven R. Andrews
                                   STEVEN R. ANDREWS (FBN: 0263680)
                                   steve@andrewslaw.com

                                   /s/ Ryan J. Andrews
                                   RYAN J. ANDREWS (FBN: 0104703)
                                   ryan@andrewslaw.com
                                   JOHN M. VERNAGLIA (FBN: 1010637)
                                   john@andrewslaw.com
                                   service@andrewslaw.com
                                   Counsel for Plaintiff




                                     2
Case 5:19-cv-00548-CEM-PRL Document 70 Filed 12/30/19 Page 3 of 3 PageID 586



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

served by electronic service on this 30th day of December, 2019, to:

      Thomas Gonzalez, Esq.                    Thomas R. Thompson, Esq.
      Nathan Paulich, Esq.                     Mallory R. Bennett, Esq.
      Gray Robinson, P.A.                      Thompson, Crawford & Smiley
      401 East Jackson Street, Suite 2700      1330 Thomasville Road
      Tampa, FL 33602                          Tallahassee, FL 32303
      Thomas.gonzalez@gray-robinson.com        tom@tcslawfirm.net
      Nathan.paulich@gray-robinson.com         mallory@tcslawfirm.net
      Sherry.Knox@gray-robinson.com            rebecca@tcslawfirm.net
      Laura.Stillwell@gray-robinson.com        karen@tcslawfirm.net
      Karen.Harris@gray-robinson.com           Counsel for Defendant R. Dionne
      Counsel for Defendant FDC

      Robert B. Buchanan, Esq.
      Siboni & Buchanan, PLLC
      1900 SE 18th Avenue, Suite 300
      Ocala, Florida 34471
      rbuchanan@sbtrial.com
      aperry@sbtrial.com
      Counsel for Defendant K. Turner


                                             /s/ Ryan J. Andrews
                                             Ryan J. Andrews



cc:   Thomas H. Bateman, III, Esq.
      tbateman@lawfla.com
      tweiss@lawfla.com




                                         3
